Case 1:05-cr-10036-.]DT Document 35 Filed 08/29/05 Page 1 of 2 Page|D 30
|N THE UN|TED STATES DiSTR|CT COURT' 7
i=oR THE wEsTERN DisTRlcT oi= TENNESSEE -`:l§',El_.l .l--?'-=` r=
EASTERN DlV|S|ON 7 " `/
UN|TED STATES OF AN|ER|CA,

Plaintiff,

 

V. Cr. No. 05-10036-01-T/An
FELIC|ANNA BROWN,

Defendant.

 

ORDER ON ARRA|GNN|ENT (SUPERSEDING lND|CTMENT)

 

This cause came to be heard on August 29, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counse|, who is appointed:

NANIE: Danny E|lis
ADDRESS:

TELEPHONE:

The defendant, through counsel, waived formal arraignment and entered a plea of not
guilty.

A|| motions shall be filed within thirty (30) days from the date hereof unlessl for good cause
shown to a District Judge, such period is extended

The defendant, who is not in custody, may stand on her present bond.

limit @_.

S. THON|AS ANDERSON
United States Magistrate Judge

Charges; controlled substance: se||, distribute or dispense
Assistant U.S. Attorney assigned to case: Kitchen

Rule 32 was: waived / not waived.

Defendant's age: §§

This document entered on the docket sheet in compliance
¢{
with Ru|e 55 and/or 32(b) FRCrF’ on ’ }'”

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 1:05-CR-10036 Was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed.

 

.1 erry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jaekson, TN 38301

Danny R. Ellis

MUELLER & ELLIS, PLC
1289 N. Highland Ave.
P.O. Box 3512

Jaekson, TN 38303--351

Honorable .1 ames Todd
US DISTRICT COURT

